Case 7:05-cr-00028-GEC-mfu   Document 753    Filed 01/15/10   Page 1 of 5
                             Pageid#: 2907
Case 7:05-cr-00028-GEC-mfu   Document 753    Filed 01/15/10   Page 2 of 5
                             Pageid#: 2908
Case 7:05-cr-00028-GEC-mfu   Document 753    Filed 01/15/10   Page 3 of 5
                             Pageid#: 2909
Case 7:05-cr-00028-GEC-mfu   Document 753    Filed 01/15/10   Page 4 of 5
                             Pageid#: 2910
Case 7:05-cr-00028-GEC-mfu   Document 753    Filed 01/15/10   Page 5 of 5
                             Pageid#: 2911
